Case 2:23-cr-00393-HB Document1 Filed 09/06/23 Page 1 of 19

IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA : CRIMINAL NO.
V. : DATE FILED:
KYLE MCLEMORE : VIOLATIONS:

18 U.S.C. § 371 (conspiracy — 1 count)

18 U.S.C. § 922(a)(1)(A) (dealing in firearms
without a license — 1 count)

Notice of forfeiture

INDICTMENT

COUNT ONE

THE GRAND JURY CHARGES THAT:

At all times material to this indictment:

[. Defendant KYLE MCLEMORE was a resident of Philadelphia,
Pennsylvania, was not a federal firearms licensee (“FFL”), and was not authorized to deal,
import, or manufacture firearms under federal law.

2. Terrance Darby, a/k/a “Tibbs,” a/k/a “Tibby,” charged elsewhere, was a
resident of Philadelphia, Pennsylvania, was not a FFL, and was not authorized to deal, import, or
manufacture firearms under federal law.

3. Ontavious Plumer, a/k/a “Toot,” charged elsewhere, was a resident of
South Carolina, was not a FFL, and was not authorized to deal, import, or manufacture firearms
under federal law.

4. Cory Brookins, a/k/a “Sport,” charged elsewhere, was not a federal

firearms licensee (“FFL”), and was not authorized to deal, import, or manufacture firearms under
Case 2:23-cr-00393-HB Document1 Filed 09/06/23 Page 2 of 19

federal law.

5. Charlena West, charged elsewhere, was a resident of South Carolina, was

not a FFL, and was not authorized to deal, import, or manufacture firearms under federal law.

6. Earlishia Brownlee, a/k/a “Dominique,” charged elsewhere, was a resident

of South Carolina, was not a FFL, and was not authorized to deal, import, or manufacture

firearms under federal law.

7. Darquis Davis, a/k/a “Justice,” charged elsewhere, was a resident of South

Carolina, was not a FFL, and was not authorized to deal, import, or manufacture firearms under

federal law.

8. The following businesses possessed an FFL license and were authorized to

deal in firearms under federal laws:

FFL

Location

Anderson Gun and Pawn

1309 South Murray Avenue, Anderson, South Carolina

Grady’s Great Outdoors

3440 Clemson Boulevard, Anderson, South Carolina

Academy Sports + Outdoors #154

3423 Clemson Boulevard, Anderson, South Carolina

B&B Sporting Goods and Pawn

2001 South Main Street, Anderson, South Carolina

Palmetto State Armory - Greenville

1040A Woodruff Road, Greenville, South Carolina

Palmetto State Armory - Columbia

3760 Fernandina Road, Columbia, South Carolina

Sportsman’s Warehouse

3795 Clemson Boulevard, Anderson, South Carolina

South Carolina Gun Company

242 West Wade Hampton Boulevard, Greer, South
Carolina

City Arsenal

1210 Poinsett Highway, Greenville, South Carolina

9, FFL holders are licensed, among other things, to sell firearms. Various

rules and regulations, promulgated under the authority of Chapter 44, Title 18, United States

Code, govern the manner in which FFL holders are permitted to sell firearms.

Case 2:23-cr-00393-HB Document1 Filed 09/06/23 Page 3 of 19

10. The rules and regulations governing FFL holders require that a person
seeking to purchase a firearm fill out a Firearm Transaction Record, ATF Form 4473 (“Form
4473”). Part of the Form 4473 requires that the prospective purchaser certify that all his or her
answers on Form 4473 are true and correct. The Form 4473 requires that the prospective
purchaser certify truthfully, subject to penalties of perjury, that he or she was the actual buyer of
the firearm. The Form 4473 contains the following language in bold type: “Warning: You are
not the actual buyer if you are acquiring the firearm(s) on behalf of another person. If you are
not the actual buyer, the dealer cannot transfer the firearm(s) to you.” In the certification section
of the Form 4473, the actual buyer must certify that his or her answers to the questions on the
form are “true, correct, and complete,” and acknowledge by his or her signature that “making
any false oral or written statement . . . is a crime punishable as a felony under Federal law, and
may also violate State and/or local law.”

11. FFL holders are required to maintain a record, in the form of a completed
Form 4473, of the identity of the actual buyer of firearms sold by the FFL holder, including the
buyer’s home address and date of birth, to ensure that the person was not prohibited from
purchasing a firearm.

Tz. A person who purchases a firearm at the behest of another person and
falsely states on the Form 4473 that he or she is the actual buyer of the firearm is known as a
“straw purchaser.”

13. From at least as early as in or around November 2020 through in or around
February 2021, in in the Eastern District of Pennsylvania, the District of South Carolina, and

elsewhere, defendant

KYLE MCLEMORE
Case 2:23-cr-00393-HB Document1 Filed 09/06/23 Page 4 of 19

conspired and agreed with Terrance Darby, a/k/a “Tibbs,” a/k/a “Tibby”; Ontavious Plumer,
a/k/a “Toot”; Cory Brookins, a/k/a “Sport”; Charlena West; Earlishia Brownlee, a/k/a
“Dominique”; and Darquis Davis, a/k/a “Justice,” each charged elsewhere; and others known and
unknown to the grand jury, to commit offenses against the United States, that is, to engage in the
business of dealing firearms without being licensed to do so, in violation of Title 18, United
States Code, Section 922(a)(1)(A); and to make a false statement with respect to the information
required to be kept in the records of a federally licensed firearms dealer, in violation of Title 18,
United States Code, Section 924(a)(1)(A).

MANNER AND MEANS

It was part of the conspiracy that:

14. Ontavious Plumer instructed Charlena West and Earlishia Brownlee to
purchase firearms at FFLs in South Carolina, with the intention that these firearms would be
transported to Terrance Darby and others in Philadelphia, Pennsylvania.

15. | Ontavious Plumer paid Charlena West and Earlishia Brownlee using
mobile banking applications, including Cash App, to purchase firearms from FFLs in South
Carolina.

16. | Charlena West and Earlishia Brownlee purchased firearms from federally
licensed firearms dealers in South Carolina, knowing that the firearms were being purchased for
other individuals and that these firearms would be transported to Philadelphia and given to
Terrance Darby and others.

17. Charlena West and Earlishia Brownlee falsely stated on the Form 4473 for
each firearm purchase that they were the actual purchaser of the firearms, when in fact they knew

this statement was false and they purchased the firearms for others, including Terrance Darby.
Case 2:23-cr-00393-HB Document1 Filed 09/06/23 Page 5 of 19

18. Ontavious Plumer communicated with Cory Brookins and Terrance Darby
about the purchases of the firearms by Charlena West and Earlishia Brownlee, and coordinated
the transport by West and Darquis Davis of these firearms from South Carolina to Philadelphia,
Pennsylvania.

19, Charlena West traveled from South Carolina to Philadelphia, Pennsylvania
with the firearms and transferred the firearms to defendant KYLE MCLEMORE, Terrance
Darby, and Cory Brookins. Darquis Davis drove West on some occasions.

20. The co-conspirators, including defendant KYLE MCLEMORE, sent
payments to each other for the firearms via mobile banking applications, such as Cash App.

21. Defendant KYLE MCLEMORE, Terrance Darby, and Cory Brookins
received the purchased firearms and planned to resell the firearms.

OVERT ACTS

In furtherance of the conspiracy and to accomplish its objects, the following overt
acts, among others, were committed in the Eastern District of Pennsylvania, the District of South
Carolina, and elsewhere:

1. On or about November 20 and November 21, 2020, at the direction of

Ontavious Plumer, Charlena West purchased the following firearms:

Date of Federal Firearms | Firearm Serial Purchaser
Purchase | Licensee Number
11/20/2020 | Anderson Gun and | Beretta, model APX, 9mm A098483X | Charlena
Pawn semi-automatic pistol West
11/20/2020 | Anderson Gun and | Beretta, model APX, 9mm A098465X | Charlena
Pawn semi-automatic pistol West
11/20/2020 | Grady’s Great Taurus, Judge series, .45 ABL097569 | Charlena
Outdoors caliber revolver West
11/20/2020 | Grady’s Great Taurus, Judge series, .45 ABJ941959 | Charlena
Outdoors caliber revolver West
11/20/2020 | Grady’s Great Taurus, Judge series, .45 ABK062912 | Charlena
Outdoors caliber revolver West

Case 2:23-cr-00393-HB Document1 Filed 09/06/23 Page 6 of 19

11/20/2020 | Grady’s Great Taurus, model G3, 9mm semi- | ABJ945226 | Charlena
Outdoors automatic pistol West
11/21/2020 | Grady’s Great Smith & Wesson, model FCU0160 Charlena
Outdoors $D40, .40 caliber semi- West
automatic pistol
11/21/2020 | Grady’s Great Smith & Wesson, model FCW3015 Charlena
Outdoors SD40, .40 caliber semi- West
automatic pistol
11/21/2020 | Grady’s Great Ruger, Security-9, 9mm semi- | 383-61872 Charlena
Outdoors automatic pistol West
11/21/2020 | Academy Sports + | Smith & Wesson, model JFN7241 Charlena
Outdoors # 154 MP40, .40 caliber semi- West
automatic pistol
11/21/2020 | Academy Sports + | Ruger, Security-9,9mm semi- | 383-84606 | Charlena
Outdoors # 154 automatic pistol West
11/21/2020 | Academy Sports + | Smith & Wesson, model FCU8997 Charlena
Outdoors # 154 SD40VE, .40 caliber semi- West
automatic pistol
11/21/2020 | Academy Sports + | Ruger, Security-9, 9mm semi- | 383-69030 | Charlena
Outdoors # 154 automatic pistol West
2. On or about November 22, 2020, at the direction of Ontavious Plumer,

Charlena West transported firearms by car from South Carolina to Philadelphia, Pennsylvania,

and gave the firearms to defendant KYLE MCLEMORE.

Sy On or about November 27 and November 28, 2020, at the direction of

Ontavious Plumer, Charlena West and Earlishia Brownlee purchased the following firearms:

automatic pistol

Date of Federal Firearms | Firearm Serial Purchaser
Purchase | Licensee Number
11/27/2020 | Grady’s Great Glock, model 48, 9mm semi- BRUD0O21 Charlena
Outdoors automatic pistol West
11/27/2020 | Grady’s Great Smith & Wesson, model SD9, | FCJ0371 Charlena
Outdoors 9mm semi-automatic pistol West
11/27/2020 | Grady’s Great Smith & Wesson, model FCR2029 Charlena
Outdoors SD40, .40 caliber semi- West
automatic pistol
11/27/2020 | B&B Sporting Smith & Wesson, model HEY8477 Charlena
Goods and Pawn SD40VE, .40 caliber semi- West
automatic pistol
11/27/2020 | B&B Sporting Smith & Wesson, model FBB2962 Charlena
Goods and Pawn SD40VE, .40 caliber semi- West

6

Case 2:23-cr-00393-HB Document1 Filed 09/06/23 Page 7 of 19

pistol

11/27/2020 | B&B Sporting Smith & Wesson, model 4040, | USC9960 Charlena

Goods and Pawn .40 caliber semi-automatic West
pistol

11/27/2020 | Palmetto State Glock, model 44, .22 caliber AEMA839 | Earlishia
Armory - semi-automatic pistol Brownlee
Greenville

11/27/2020 | Palmetto State Glock, model 43, 9mm semi- AEWG856_ | Earlishia
Armory - automatic pistol Brownlee
Greenville

11/27/2020 | Palmetto State Glock, model 43, 9mm semi- AEWV822 | Earlishia
Armory - automatic pistol Brownlee
Greenville

11/28/2020 | Palmetto State Smith & Wesson, model FCV9142 Charlena
Armory - SD9VE, 9mm semi-automatic West
Greenville pistol

11/28/2020 | B&B Sporting Glock, model 44, .22 caliber AEHK404 | Earlishia
Goods and Pawn semi-automatic pistol Brownlee

11/28/2020 | B&B Sporting Glock, model 44, .22 caliber AEFZ395 Earlishia
Goods and Pawn semi-automatic pistol Brownlee

11/28/2020 | B&B Sporting Smith & Wesson, model 4046, | TDS8937 Earlishia
Goods and Pawn .40 caliber semi-automatic Brownlee

pistol

11/28/2020 | B&B Sporting Smith & Wesson, model M&P | HST6669 Earlishia

Goods and Pawn 45, .22 caliber semi-automatic Brownlee

4, On or about December 1, 2020, Terrance Darby told defendant KYLE

MCLEMORE that he had sold two Glock pistols the previous night. MCLEMORE responded,

“good ... got one sold this afternoon.”

5. On or about December 27, 2020, Terrance Darby told Ontavious Plumer

that Darby had requests for FN firearms, and asked if Plumer was “‘still able to make it happen.”

Plumer responded that he could “make it happen” and quoted Darby a price of “12-1600” for

“the ones that shoot 9 mm bullets.”

6. On or about December 31, 2020, defendant KYLE MCLEMORE sent

$1,000 to Terrance Darby using Cash App.

¢ In late December 2020 and early January 2021, Ontavious Plumer and

7

Case 2:23-cr-00393-HB Document1 Filed 09/06/23 Page 8 of 19

Terrance Darby agreed that Plumer would supply guns to Darby in Philadelphia for
approximately $6,800, in exchange for Darby sending controlled substances to South Carolina.
8. On or about January 8, 2021, at the direction of Ontavious Plumer,

Charlena West and Earlishia Brownlee purchased the following firearms:

Date of Federal Firearms | Firearm Serial Purchaser

Purchase | Licensee Number

1/8/2021 Sportsman’s Glock, model 19, 9mm semi- BN YP686 Charlena
Warehouse automatic pistol West

1/8/2021 Sportsman’s Beretta, model APX, 9mm A118611X | Charlena
Warehouse semi-automatic pistol West

1/8/2021 Grady’s Great Smith & Wesson, model FCR9812 Charlena
Outdoors SD40VE., .40 caliber semi- West

automatic pistol

1/8/2021 Grady’s Great Taurus, model G3, 9mm semi- | ABN377437 | Charlena
Outdoors automatic pistol West

1/8/2021 Grady’s Great Glock, model 19, 9mm semi- BEBG379 Charlena
Outdoors automatic pistol West

1/8/2021 Grady’s Great Smith & Wesson, M&P9 RJL8351 Earlishia
Outdoors Shield, 9mm semi-automatic Brownlee

pistol

1/8/2021 Grady’s Great Glock, model 43, 9mm semi- | RJL9085 Earlishia
Outdoors automatic pistol Brownlee

1/8/2021 Grady’s Great Glock, model 43, 9mm semi- RJJ3740 Earlishia
Outdoors automatic pistol Brownlee
9. On or about January 8, 2021, Ontavious Plumer told Terrance Darby, “Asa

hit me I’m coming your way tomorrow wit straps n I need da dog.” Darby asked in response,

“What u bringing?” Plumer responded that he would try to obtain 10 firearms, and Darby

responded, “... hope all new. Don’t wanna get stuck wit nothing used.”

10. On or about January 9, 2021:

a.

Plumer told Darby that it would cost “6800 for da 8 guns.”

b.

Ontavious Plumer told Terrance Darby that he had “8 total.”

At the direction of Ontavious Plumer, Charlena West transported

firearms by car from South Carolina to Philadelphia, Pennsylvania and gave the firearms to

8

Case 2:23-cr-00393-HB Document1 Filed 09/06/23 Page 9 of 19

Terrance Darby.

11. Onor about January 10, 2021, Terrance Darby sent defendant KYLE
MCLEMORE pictures of several firearms with corresponding prices, including a Smith &
Wesson, model M&P9 Shield, 9mm semiautomatic pistol bearing serial number RJJ3740
purchased by Earlishia Brownlee on January 8, 2021; a Beretta, model APX, 9mm
semiautomatic pistol bearing serial number A118611X purchased by Charlena West on January
8, 2021; and a Taurus, model G3, 9mm semiautomatic pistol bearing serial number ABN377437
purchased by West on January 8, 2021.

12. Onor about January 10, 2021, Ontavious Plumer told Earlishia Brownlee
to purchase certain firearms, to which Brownlee responded, “Okay.”

13. On or about January 10 and January 11, 2021, at the direction of

Ontavious Plumer, Earlishia Brownlee purchased the following firearms:

Date of Federal Firearms | Firearm Serial Purchaser

Purchase | Licensee Number

1/10/2021 | Palmetto State Smith & Wesson, model FCL3090 Earlishia
Armory - SD40VE, .40 caliber semi- Brownlee
Greenville automatic pistol

1/10/2021 | Palmetto State Smith & Wesson, model FCR1969 Earlishia
Armory - SD40VE, .40 caliber semi- Brownlee
Greenville automatic pistol

1/11/2021 | Anderson Gun and | Kahr, model CW45, .45 $G3002 Earlishia
Pawn caliber semi-automatic pistol Brownlee

14. On or about January 12, 2021, Ontavious Plumer told Terrance Darby that
he had firearms, and that these firearms would be transported to Darby. Plumer asked Darby for
a “pay advance.”

15. On or about January 13, 2021, at the direction of Ontavious Plumer,
Charlena West and Darquis Davis transported firearms by car from South Carolina to

Philadelphia, Pennsylvania, and gave the firearms to Terrance Darby.
Case 2:23-cr-00393-HB Document1 Filed 09/06/23 Page 10 of 19

16. On or about January 14, 2021, at the direction of Ontavious Plumer,

Charlena West purchased the following firearms:

Date of Federal Firearms | Firearm Serial Purchaser
Purchase | Licensee Number
1/14/2021 | South Carolina Smith & Wesson, model NEJ0435 Charlena
Gun Company MP40, .40 caliber semi- West
automatic pistol
1/14/2021 | South Carolina Smith & Wesson, model HLH1207 Charlena
Gun Company MP40, .40 caliber semi- West
automatic pistol
1/14/2021 | South Carolina Smith & Wesson, model HLL8291 Charlena
Gun Company MP40, .40 caliber semi- West
automatic pistol
de On or about January 15, 2021, Ontavious Plumer sent Terrance Darby

photographs of three firearms, and told Darby that these were “all 40s.” Plumer told Darby that

he would be “getting [the] rest in the am” and that these firearms would cost $1,100. Darby

confirmed that he wanted these firearms. Plumer responded that he would pick up some more

“hardware” and then would be “hitting road.”

18. On or about January 17, 2021, at the direction of Ontavious Plumer,

Charlena West purchased the following firearms:

Date of Federal Firearms | Firearm Serial Purchaser

Purchase | Licensee Number

1/17/2021 | Palmetto State Smith & Wesson, model FCN8128 Charlena
Armory - SD9VE, 9mm semi-automatic West
Columbia pistol

1/17/2021 | Palmetto State Smith & Wesson, model FCZ6643 Charlena
Armory SD40VE, .40 caliber semi- West
- Columbia automatic pistol

1/17/2021 | Palmetto State Taurus, model GC3, 9mm ABN361120 | Charlena
Armory - semi-automatic pistol West
Columbia

19, On or about January 17, 2021, Ontavious Plumer told Cory Brookins that

he had six brand new firearms for $7,200. Plumer told Brookins that the firearms were on the

10

Case 2:23-cr-00393-HB Document1 Filed 09/06/23 Page 11 of 19

way to be delivered to Brookins.

20. On or about January 18, 2021, Ontavious Plumer told Terrance Darby that
the firearms were being transported to “your city.” Plumer then asked Darby if he had “ice,” to
which Darby responded that it would cost $5,000 per bag.

21. On or about January 18, 2021, at the direction of Ontavious Plumer,
Charlena West and Darquis Davis transported firearms by car from South Carolina to
Philadelphia, Pennsylvania and gave the firearms to Terrance Darby. Cory Brookins was present
when West and Davis gave some of the firearms to Darby.

22, On or about January 19, 2021, Terrance Darby sent defendant K YLE
MCLEMORE pictures of several firearms with corresponding prices, including a Smith &
Wesson, model M&P40, .40 caliber semiautomatic pistol bearing serial number NEJ0435
purchased by WEST on January 14, 2021; and a Taurus, model G3, 9mm semiautomatic pistol
bearing serial number ABN361120 purchased by WEST on January 17, 2021.

23. On January 21 and 22, 2021, Terrance Darby sent Cory Brookins
numerous photographs of numerous firearms, including a Smith & Wesson, model SD40VE, .40
caliber semiautomatic pistol bearing serial number FCL3090 that was purchased by Earlishia
Brownlee on January 10, 2021; a Smith & Wesson, model M&P40, .40 caliber semiautomatic
pistol bearing serial number NEJ0435 that was purchased by Charlena West on January 14,
2021; and a Taurus, model G3, 9mm semiautomatic pistol bearing serial number ABN361120
that was purchased by West on January 17, 2021. Darby said to Brookins, “I’m in,” and
Brookins said, “Bet.”

24. On or about January 21, 25 and 26, 2021, at the direction of Ontavious

Plumer, Charlena West and Earlishia Brownlee purchased the following firearms:

11
Case 2:23-cr-00393-HB Document1 Filed 09/06/23 Page 12 of 19

Date of Federal Firearms | Firearm Serial Purchaser
Purchase | Licensee Number
1/21/2021 | B&B Sporting Ruger, model SR9c, 9mm 339-18799 | Earlishia
Goods and Pawn semi-automatic pistol Brownlee
1/21/2021 | B&B Sporting Smith & Wesson, model NFD1490 Earlishia
Goods and Pawn M&P, semi-automatic pistol Brownlee
1/25/2021 | Anderson Gun and | Springfield Defender, 9mm BY565525__| Earlishia
Pawn semi-automatic pistol Brownlee
1/25/2021 | Anderson Gun and | Smith & Wesson, model HRX7505 Earlishia
Pawn MP40C, .40 caliber semi- Brownlee
automatic pistol
1/25/2021 | B&B Sporting Ruger, model 9E, 9mm semi- | 338-1248 Earlishia
Goods and Pawn automatic pistol Brownlee
1/25/2021 | B&B Sporting Smith & Wesson, model PB23904 Earlishia
Goods and Pawn SWOGVE, 9mm semi- Brownlee
automatic pistol
1/26/2021 | B&B Sporting Taurus, model G2C, 9mm ABL194818 | Charlena
Goods and Pawn semi-automatic pistol West

25. On or about January 25 and 26, 2021, Ontavious Plumer and Charlena

West discussed purchasing firearms and transporting them to Philadelphia, Pennsylvania. On

January 26, 2021, Plumer told West to purchase firearms and drive to Philadelphia. West

responded that he/she was on his/her way to Philadelphia with firearms. Plumer told West that

she would be meeting Cory Brookins, and provided Brookins’s cell phone number.

26. On or about January 26, 2021, Terrance Darby sent $1,000 to defendant

KYLE MCLEMORE using Cash App.

aT On or about January 27, 2021, at the direction of Ontavious Plumer,

Charlena West and Darquis Davis transported firearms by car from South Carolina to

Philadelphia, Pennsylvania, and gave the guns to Cory Brookins.

28. On or about January 28, 2021, at the direction of Ontavious Plumer,

Charlena West purchased the following firearms:

Date of
Purchase

Federal Firearms
Licensee

Firearm

Serial
Number

Purchaser

12

Case 2:23-cr-00393-HB Document1 Filed 09/06/23 Page 13 of 19

1/28/2021 | Palmetto State Smith & Wesson, model FCY5101 Charlena
Armory SD40VE, .40 caliber semi- West
automatic pistol
1/28/2021 | Palmetto State Smith & Wesson, model FCZ3184 Charlena
Armory SD9VE, 9mm semi-automatic West
pistol
1/28/2021 | Palmetto State Taurus, model GC3, 9mm ABN357074 | Charlena
Armory semi-automatic pistol West
1/28/2021 | City Arsenal Smith & Wesson, model FCY1145 Charlena
SD40VE, .40 caliber semi- West
automatic pistol
1/28/2021 | City Arsenal FN Herstal, model 503, 9mm | CV010947 | Charlena
semi-automatic pistol West
1/28/2021 | Grady’s Great FN Herstal, model 503,9mm_ | CV014843 Charlena
Outdoors semi-automatic pistol West

29. On or about January 30, 2021, Terrance Darby sent $350 to defendant

KYLE MCLEMORE using Cash App.

30. | Onor about February 5, 2021, Ontavious Plumer told Charlena West that

he would like West to take another trip to Philadelphia. West then told Darquis Davis, “we mite

be going to philly soon.” Davis responded, “Okay let him know my price is $500.” West

responded, “He knows.”

31. On or about February 5, 2021, Cory Brookins sent Terrance Darby $1,100

using Cash App.

32. Onor about February 8, 2021, defendant KYLE MCLEMORE sent

Terrance Darby messages about several kinds of firearms, including a “new 40 beretta micro

drake,” an “AR [pistol]”, and an “mp7 Al”. Darby replied that “[t]hey got Ruger AR 556” and

“Mini dracos”, and sent screenshots of firearms from the websites of Academy Sports and

Outdoors and Palmetto State Armoy, both of which are FFLs from which Charlena West and

Earlishia Brownlee purchased firearms. Defendant MCLEMORE responded by “loving” the

images.

13

Case 2:23-cr-00393-HB Document1 Filed 09/06/23 Page 14 of 19

33. On or about February 8, 2021, defendant KYLE MCLEMORE sent
Terrance Darby $2,000 using Cash App.

34, On or about February 10, 2021, Ontavious Plumer told Charlena West to
leave for Philadelphia the next morning.

35. Onor about February 10, 2021, Terrance Darby sent Cory Brookins $650
using Cash App.

36. On or about February 11, 2021, at the direction of Ontavious Plumer,
Charlena West and Darquis Davis transported firearms by car from South Carolina to
Philadelphia, Pennsylvania, and gave the guns to Terrance Darby.

37. On February 12, 2021, Cory Brookins sent $1,000 to a Cash App account
belonging to Ontavious Plumer’s sister. At various times throughout the conspiracy, Plumer
instructed members of the conspiracy to transfer money to that account.

38. On or about March 9, 2021, Terrance Darby sent defendant KYLE
MCLEMORE pictures of two firearms with corresponding prices, and asked “Where u want the
merch?” Defendant MCLEMORE responded: “Under the couch cushion.”

All in violation of Title 18, United States Code, Section 371.

14
Case 2:23-cr-00393-HB Document1 Filed 09/06/23 Page 15 of 19

COUNT TWO

THE GRAND JURY FURTHER CHARGES THAT:

At all times material to this indictment:

1. Paragraphs 1, 14 through 20, and Overt Acts 1 through 38 of Count One
are incorporated here.

2. From at least as early as in or around November 2020 through in or around
March 2021, in the Eastern District of Pennsylvania, the District of South Carolina, and
elsewhere, defendant

KYLE MCLEMORE

willfully engaged in the business of dealing in firearms without being licensed to do so under the
provisions of Chapter 44, Title 18, United States Code, and aided and abetted the same.
In violation of Title 18, United States Code, Sections 922(a)(1)(A), 924(a)(1)(D)

and 2.

15
Case 2:23-cr-00393-HB Document1 Filed 09/06/23 Page 16 of 19

NOTICE OF FORFEITURE

THE GRAND JURY FURTHER CHARGES THAT:
As a result of the violation of Title 18, United States Code, Sections 371,
922(a)(1)(A), and 924(a)(1)(D), set forth in this indictment, defendant
KYLE MCLEMORE
shall forfeit to the United States of America the firearms involved in the commission of such

violations, including:

# | Firearm Serial Number

1_ | Beretta, model APX, 9mm semi-automatic pistol A098483X

2 | Beretta, model APX, 9mm semi-automatic pistol A098465X

3__| Taurus, Judge series, .45 caliber revolver ABL097569

4 | Taurus, Judge series, .45 caliber revolver ABJ941959

5 | Taurus, Judge series, .45 caliber revolver ABK062912

6 | Taurus, model G3, 9mm semi-automatic pistol ABJ945226

7 | Smith & Wesson, model SD40, .40 caliber semi-automatic | FCU0160
pistol

8 | Smith & Wesson, model SD40, .40 caliber semi-automatic | FCW3015
pistol
Ruger, Security-9, 9mm semi-automatic pistol 383-61872

10 | Smith & Wesson, model MP40, .40 caliber semi-automatic | JFN7241
pistol

11 | Ruger, Security-9, 9mm semi-automatic pistol 383-84606

12 | Smith & Wesson, model SD40VE, .40 caliber semi- FCU8997
automatic pistol

13 | Ruger, Security-9, 9mm semi-automatic pistol 383-69030

14 | Glock, model 48, 9mm semi-automatic pistol BRUD0O21

15 | Smith & Wesson, model SD9, 9mm semi-automatic pistol | FCJ0371

16 | Smith & Wesson, model SD40, .40 caliber semi-automatic | FCR2029
pistol

17 | Smith & Wesson, model SD40VE, .40 caliber semi- HEY8477
automatic pistol

18 | Smith & Wesson, model SD40VE, .40 caliber semi- FBB2962
automatic pistol

19 | Smith & Wesson, model 4040, .40 caliber semi-automatic | USC9960
pistol

20 | Glock, model 44, .22 caliber semi-automatic pistol AEMA839

21 | Glock, model 43, 9mm semi-automatic pistol AEWG856

22 | Glock, model 43, 9mm semi-automatic pistol AEWV822

16
Case 2:23-cr-00393-HB Documenti Filed 09/06/23

Page 17 of 19

23 | Smith & Wesson, model SD9VE, 9mm semi-automatic FCV9142
pistol

24 | Glock, model 44, .22 caliber semi-automatic pistol AEHK404

25 | Glock, model 44, .22 caliber semi-automatic pistol AEFZ395

26 | Smith & Wesson, model 4046, .40 caliber semi-automatic | TDS8937
pistol

27 | Smith & Wesson, model M&P 45, .22 caliber semi- HST6669
automatic pistol

28 | Glock, model 19, 9mm semi-automatic pistol BNYP686

29 | Beretta, model APX, 9mm semi-automatic pistol Al118611X%

30 | Smith & Wesson, model SD40VE, .40 caliber semi- FCR9812
automatic pistol

31 | Taurus, model G3, 9mm semi-automatic pistol ABN377437

32 | Glock, model 19, 9mm semi-automatic pistol BEBG379

33 | Smith & Wesson, M&P9 Shield, 9mm semi-automatic RJL8351
pistol

34 | Glock, model 43, 9mm semi-automatic pistol RJL9085

35 | Glock, model 43, 9mm semi-automatic pistol RJJ3740

36 | Smith & Wesson, model SD40VE, .40 caliber semi- FCL3090
automatic pistol

37 | Smith & Wesson, model SD40VE, .40 caliber semi- FCR1969
automatic pistol

38 | Kahr, model CW45, .45 caliber semi-automatic pistol SG3002

39 | Smith & Wesson, model MP40, .40 caliber semi-automatic | NEJ0435
pistol

40 | Smith & Wesson, model MP40, .40 caliber semi-automatic | HLH1207
pistol

41 | Smith & Wesson, model MP40, .40 caliber semi-automatic | HLL8291
pistol

42 | Smith & Wesson, model SD9VE, 9mm semi-automatic FCN8128
pistol

43 | Smith & Wesson, model SD40VE, .40 caliber semi- FCZ6643
automatic pistol

44 | Taurus, model GC3, 9mm semi-automatic pistol ABN361120

45 | Ruger, model SR9c, 9mm semi-automatic pistol 339-18799

46 | Smith & Wesson, model M&P, semi-automatic pistol NFD1490

47 | Springfield Defender, 9mm semi-automatic pistol BY565525

48 | Smith & Wesson, model MP40C, .40 caliber semi- HRX7505
automatic pistol

49 | Ruger, model 9E, 9mm semi-automatic pistol 338-1248

50 | Smith & Wesson, model SW9GVE, 9mm semi-automatic PB23904
pistol

51 | Taurus, model G2C, 9mm semi-automatic pistol ABL194818

17

Case 2:23-cr-00393-HB Document1 Filed 09/06/23 Page 18 of 19

52 | Smith & Wesson, model SD40VE, .40 caliber semi- FCY5101
automatic pistol |

| 53 | Smith & Wesson, model SD9VE, 9mm semi-automatic FCZ3184

| pistol -
54 | Taurus, model GC3, 9mm semi-automatic pistol ABN357074
55 | Smith & Wesson, model SD40VE, .40 caliber semi- FCY1145

automatic pistol

| 56 | FN Herstal, model 503, 9mm semi-automatic pistol CV010947

| 57 | FN Herstal, model 503, 9mm semi-automatic pistol CV014843

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All pursuant to Title 28, United States Code, Section 2461(c), and Title 18, United

States Code, Section 924(d).

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CEC /An

JACQUELINE C. ROMERO
United States Attorney

18
Case 2:23-cr-00393-HB Document1 Filed 09/06/23 Page 19 of 19

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